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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK


JANE DOE,                                                 Case No. 1:24-CV-07975-AT

                      Plaintiff,

       v.

SEAN COMBS, DADDY’S HOUSE RECORDINGS
INC., CE OPCO, LLC d/b/a/COMBS GLOBAL f/k/a
COMBS ENTERPRISES, LLC, BAD BOY
ENTERTAINMENT HOLDINGS, INC., BAD BOY
PRODUCTIONS HOLDINGS, INC., BAD BOY
BOOKS HOLDINGS, INC., BAD BOY RECORDS
LLC, BAD BOY ENTERTAINMENT LLC, BAD
BOY PRODUCTIONS LLC, ORGANIZATIONAL
DOES 1-10, AND SHAWN CARTER,

                      Defendants.


            DECLARATION OF ANTHONY G. BUZBEE IN OPPOSITION TO
             DEFENDANT SHAWN CARTER’S MOTION FOR SANCTIONS


       I, ANTHONY G. BUZBEE, pursuant to 28 U.S.C. § 1746, declare as follows:

       1.      I am an attorney duly licensed and in good standing in the State of New York, the

State of Texas, and the United States District Court for the Eastern District of New York. My

application for reciprocal admission in the Southern District of New York is forthcoming.

       2.      I am the principal of The Buzbee Law Firm, a respected law firm based in

Houston, Texas. I and my firm represent plaintiff Jane Doe in the above-captioned action (the

“Action”). I have decades of litigation and trial experience in courts around the country and

have received numerous recognitions over the years for professional excellence, including being

named “Attorney of the Year” by Texas Lawyer.
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       3.      I submit this declaration in opposition to Defendant Shawn Carter’s (“Carter”)

motion for sanctions under Federal Rule of Civil Procedure 11 (the “Motion”).

A.     Counsel’s Investigation of Plaintiff’s Allegations

       4.      In 2024, I and my firm became involved in the civil claims arising from the

revelation that the world-famous rapper and music star defendant Sean Combs, more commonly

known as Diddy (“Combs”), was accused of engaging in systematic sexual abuse and sex

trafficking, among other potential crimes, over a period of many years.

       5.      In early October 2024, Jane Doe was referred to my firm by my co-counsel in this

Action, AVA Law Group (“AVA Law”), a respected law firm with its principal office in San

Diego, California.

       6.      At the time of the referral, I was informed by AVA Law that they had conducted

an investigation into the veracity of plaintiff’s allegations that she had been raped by both Combs

and Carter at a Video Music Awards (the “VMAs”) afterparty in 2000. AVA Law referred

numerous cases to us. I was informed that their intake process involved multiple interviews of

each potential client (including the plaintiff in this case), including in some cases at least one, if

not more, attorneys. I further understood that an attorney would interview a potential plaintiff

prior to drafting a complaint, as AVA Law did here. My understanding was that only when the

attorneys at AVA Law were convinced that plaintiff’s allegations were true and ones that could

be pursued did they refer plaintiff to my firm.

       7.      After plaintiff was referred to me, I and other attorneys at my firm also engaged in

further rigorous due diligence to investigate the veracity and legal viability of plaintiff’s claim.

At least two attorneys at my firm interviewed the plaintiff and fact-checked various aspects of

her account, among other things, prior to revising and filing the original complaint. Prior to the
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filing of the First Amended Complaint in this action, which named Carter as a defendant, my

firm undertook additional diligence efforts. These included, among other things, further

intensive interviews (which essentially amounted to interrogations) of plaintiff by three to five

attorneys (both alone and in teams); research and verification of numerous details in plaintiff’s

account; running a background check on plaintiff; and retaining a retired police detective to

investigate and verify additional aspects of plaintiff’s account. Each of the lawyers within our

firm who interviewed Jane Doe have extensive experience and training doing so. Each I trust. At

each point in this process we determined that plaintiff’s allegations were credible. It is important

to note, that I also personally interviewed Jane Doe. I found her to be credible, and adamant

about the claims she was making. I believed her, and still do.

       8.      With respect to Carter’s association with Combs specifically, despite it being

widely known that he is a close associate of Combs, my firm conducted additional research to

confirm their close connection, which further bolstered our conclusion that plaintiff’s allegations

against Carter were plausible, credible, and warranted legal recourse.

       9.      Further, in each of the pre-filing interviews that I and other attorneys at my firm

took of plaintiff, plaintiff appeared both consistent and credible in her account of the night she

alleges to have been raped by both Carter and Combs.

B.     Commencement of This Action

       10.     The original complaint in this matter was filed anonymously on October 20, 2024,

against Combs, and other defendants, alleging that plaintiff was raped at an after-party following

the 2000 VMAs on or around September 7, 2000. (See ECF 1 ¶¶ 34-57).
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       11.     As discussed above, before amending the complaint to name Carter as a

defendant, my firm conducted substantial additional diligence, including additional intensive

interviews specifically regarding her allegations against Carter.

       12.     On December 8, 2024, my firm filed the First Amended Complaint (the

“Amended Complaint” or “FAC”) (ECF 29) naming Carter as one of plaintiff’s rapists.

C.     Carter Challenges Factual Allegations And Files His Frivolous Sanctions Motion

       13.     On December 13, 2024, Carter filed a pre-motion letter informing the court of his

intent to immediately file for sanctions and requesting a shortening of the 21-day safe harbor

provision in Rule 11. (ECF 46).

       14.     On December 20, 2024, I submitted a letter in response to Carter’s December 13

letter, stating that a sanctions motion challenging allegations concerning a child rape victim

would be “frivolous” and “would itself be subject to a Rule 11 motion in response.” (ECF 50).

Specifically, I pointed to authority recognizing that a victim who was a minor at the time of the

sexual assault could not be expected to have “exacting recall and command of all relevant facts.”

Id.

       15.     Carter filed his meritless sanctions motion on January 8, 2025, the day after the

expiration of the 21-day safe-harbor period provided by Federal Rule of Civil Procedure

11(c)(2).

D.     Carter’s Illegal Harassment of My Firm and Clients

       16.     Since the initiation of this lawsuit, many past and current employees and clients of

my firm have reported being approached and harassed by individuals claiming to be

investigating me and my firm, urging the clients to sue us. These “investigators” even contacted

my daughter. Several former clients even have been offered money to sue us. We were able to
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catch this illegal activity on tape. On several occasions these so-called investigators claimed to

be working for the “state” or the “feds.”

       17.     I am informed and believe that these so-called “investigators” are connected to

Carter and are part of a concerted effort to harass and intimidate me and my firm. I base my

belief on the following: (i) investigator Jessica Santiago was caught on tape informing my former

client, Gerardo Garcia, that she was working for an attorney named Marcy Croft at the law firm

of MJ Legal, P.A.; (ii) Ms. Croft is an attorney in Jackson, Mississippi; (iii) Ms. Croft advertises

herself as a member of “Team Roc”; (iv) Ms. Croft advertises that she has become “actively

involved with criminal justice reform and prison reform alongside Roc Nation’s philanthropic

arm, Team Roc”; (v) Roc Nation and Carter are synonymous – Carter is founder and Chairman

of his entertainment company, Roc Nation; (vi) Carter’s attorney, Alex Spiro of Quinn Emanuel

Urquhart & Sullivan LLP, and Ms. Croft have worked alongside each other for years

representing Roc Nation and Carter, including on Team Roc’s criminal justice reform efforts.

       18.     This conduct by the purported “investigators” and those they work for, has

resulted in several frivolous lawsuits against myself and my firm. My firm has filed several

cases for barratry on behalf of our former clients who were offered money to file a claim against

us, and these cases detail the illegal activities of the investigators and those behind them.

       19.     Based on the foregoing, and for the reasons set forth in the accompanying

memorandum of law, the Rule 11 Motion should be denied.

       20.     I declare under penalty of perjury that the foregoing is true and correct.



                                                          Anthony G. Buzbee

Dated: January 22, 2025
